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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 21-CV-2228

  DAN ROBERT, SSGT, U.S. ARMY,
  HOLLIE MULVIHILL, SSGT, USMC, and
  OTHER SIMILARLY SITUATED
  INDIVIDUALS,

       Plaintiffs,

  v.

  LLOYD AUSTIN, in his official capacity as
  Secretary of Defense, U.S. Department of
  Defense,

  XAVIER BECERRA, in his official capacity
  as Secretary of the U.S. Department of Health
  and Human Services,

  JANET WOODCOCK, in her official
  capacity as Acting Commissioner of the U.S.
  Food & Drug Administration

       Defendants.


                                          COMPLAINT



          Plaintiffs Staff Sergeant Daniel Robert, U.S. Army, and Staff Sergeant Holli Mulvihill,

 USMC, individually and on behalf of all other similarly situated active duty, National Guard, and

 Reserve servicemembers, as documented survivors of COVID-19, file this action against the

 Department of Defense (“DoD”), seeking a declaratory judgment that the DoD cannot force them

 to take a COVID-19 vaccination under existing military regulations, federal regulations, federal

 law, and the U.S. Constitution. The Secretary of Defense, Lloyd Austin (the “SECDEF”) has
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 publicly notified Plaintiffs, via Memo, that he will seek authorization from the President of the

 United States of America (the “President”), to mandate the COVID-19 vaccine on or about

 September 15, 2021. Upon information and belief, the DoD is already vaccinating military

 members in flagrant violation of its legal obligations and the rights of servicemembers under

 federal law and the Constitution. Army Regulation 40-562 (“AR 40-562”) provides documented

 survivors of an infection, a presumptive medical exemption from vaccination because of the

 natural immunity acquired as a result of having survived the infection. “General examples of

 medical exemptions include the following… Evidence of immunity based on serologic tests,

 documented infection, or similar circumstances.” AR 40-562, ¶2-6a.(1)(b). Plaintiffs also seek a

 declaratory judgment on the separate basis that the Emergency Use Authorization (“EUA”) DoD

 COVID-19 Vaccine mandate, which they have been notified is imminent, cannot be issued in

 violation of 10 U.S.C. §1107 and its implementing regulations, including DoD Directive 6200.2,

 the FDA regulation of biologics at 21 C.F.R. § 50 et seq., as well as the law regarding informed

 consent 50 U.S.C. 1520 (“The Nuremburg Code”).

        Neither the President, nor the SECDEF, nor the Secretary of the Department of Health and

 Human Services, nor the Secretary of the Food and Drug Administration have complied with the

 requirements of those controlling pieces of federal law. Therefore, any forced vaccination of

 Plaintiffs would be/are being administered in blatant violation of federal law, the attendant

 regulations, and the U.S Constitution, denying Plaintiffs due process of law and violating their

 bodies. Plaintiffs seek this relief pursuant to the Administrative Procedures Act, 5 U.S.C. §702, et

 seq., the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and the All Writs Act, 28 U.S.C.

 §1651. Plaintiff also seek temporary and permanent injunctive relief preventing their forced



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 vaccination attendant to their claims for declaratory judgment.

                                             PARTIES

        1.      Staff Sergeant Daniel Robert, U.S. Army, is a Drill Sargent and infantryman

 currently on active duty stationed at Fort Bragg, North Carolina.

        2.      Staff Sergeant Holli Mulvihill, USMC, is an air traffic controller currently on active

 duty stationed at MCAS New River, North Carolina.

        3.      Defendant, U.S. Department of Defense (“DoD”), is an agency of the United States

 Government. It is led by SECDEF who has publicly stated that the Department will seek

 authorization of the President to begin mandating the vaccination of the force on or about

 September 15, 2021.

        4.      Defendant, Department of Health and Human Services (“HHS”), is an agency of

 the United States Government. It is led by Secretary Xavier Becerra.

        5.      Defendant, Food and Drug Administration (“FDA”), is an agency of the United

 States Government. It is led by acting Secretary Janet Woodcock.

                                CLASS ACTION ALLEGATIONS

        6.      This action is brought by the Plaintiffs on their own behalf and on behalf of the

 class of all other military members similarly situated, under the provisions of FED. R. CIV. P. 23(a)

 and (b).

        7.      The class so represented by the Plaintiffs consists of (at least) active duty and

 reserve component members of the United States Armed Forces and National Guard members who

 have already caught and recovered from COVID-19, documented and reported it to superiors and

 have been or will be ordered to take any COVID-19 vaccine for this public health mandate.



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        8.      The exact number of members of the class described above is not precisely known,

 but there are currently in excess of 1.8 million members of the active-duty component of the Armed

 Forces. The class is so numerous that joinder of individual members is impracticable, if not

 impossible.

        9.      The relief sought is common to the entire class and there are common questions of

 law and fact that relate to and affect the rights of each class member. These common questions

 include the exact legal status under 21 U.S.C. §355 of any of the vaccines against COVID-19 that

 the military is using on members now and will use in the future; whether the vaccines are being

 used under a Presidential waiver pursuant to a specific request from the SECDEF, under 10 U.S.C.

 §1107; or pursuant to the Emergency Use Authorization under 10 U.S.C. §1107a; whether the

 proper findings and requests have been made regarding the nature and duration of the military

 exigency that requires a waiver of informed consent under DoD Instruction (“DoDI”) 6200.02.

        10.     Plaintiffs’ claims are typical of the claims all members of the class could make

 depending upon the exact nature of the vaccines and each Defendant’s actions with regard to their

 legal obligations. There is no conflict between Plaintiffs and other members of the class with

 respect to this action or with respect to the claims for relief made herein. Indeed, Plaintiffs’ claims

 would also apply to any military member who meets the requirements for medical exemption under

 AR 40-562, ¶2-6a(1)(a) or (1)(b).

        11.     The Plaintiffs are representative parties for the class and are able to fairly and

 adequately protect the interests of the class. The attorneys for the Plaintiffs are experienced and

 capable in litigating the claims at issue and have engaged in substantial litigation on similar issues

 to these in previous litigation. Attorneys Todd Callender, Colton Boyles, David Willson, and Dale



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 Saran will actively conduct and be responsible for the conduct of the action on behalf of the

 plaintiff class.

         12.        This action is properly maintained as a class action because the prosecution of

 separate actions by individual members of the class would create a risk of individual adjudications

 to class members that would, as a practical matter, be dispositive of the interests of others not party

 to the litigation or would substantially impair or impede their ability to protect their interests.

         13.        This action is properly maintained as a class action because the mixed questions of

 law and fact common to the members of the class predominate over any questions affecting only

 individual members and a class action is superior to other available methods of fair and efficient

 adjudication of the controversy.

                                     JURISDICTION AND VENUE

         14.        There is a legitimate controversy because the Plaintiffs in this case are already or

 about to be ordered to take an “Investigational New Drugs”, as defined in 21 CFR 56.104(c)

 (“IND”), or drug unapproved for its applied use, or EUA (experimental) vaccine for a virus from

 which they already have the maximum possible systemic immunity by virtue of their immune

 systems having already defeated it; and for which they, therefore, have no need. This case

 implicates the most fundamental of all human rights, the right of a person to bodily integrity and

 to make their own choices about what will be put into their body. Upon information and belief, the

 DoD has already begun vaccinating members in violation of its legal obligations.

         15.        Jurisdiction is proper in this Court under the Administrative Procedures Act, 5

 U.S.C. §702, the Declaratory Judgment Act, 28 U.S.C. §2201, and under 28 U.S.C. §§1331, 1346,

 and 1361.



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         16.     Venue is proper in this Court pursuant to 28 U.S.C. §1402 where members of the

 Plaintiff class are present in the district and directly impacted by the proposed order as members,

 leadership, and the physically located military reservations of the Defendant DoD in this Court’s

 jurisdiction.

                                   FACTUAL BACKGROUND

         17.     Army Regulation 40-562, “Immunization and Chemoprophylaxis for the

 Prevention of Infectious Diseases”1 presumptively exempts from any vaccination requirement a

 service member that the military knows has had a documented previous infection.

         18.     Plaintiffs, individually and as a class, have all previously suffered and recovered

 from COVID-19 infections with the development of natural immunity as demonstrated to or

 documented by the military.

         19.     AR 40-562 was signed on Oct. 7, 2013, went into effect on Nov. 7, 2013, and

 remains in effect today. It applies to all branches of the military. The Regulation also applies

 whether the proposed COVID-19 vaccines it seeks to administer to Plaintiffs and the class are

 IND, as an IND under EUA, 21 USC Sec. 360bbb-3, or as a fully approved FDA vaccine.

         20.     Plaintiffs and the proposed Plaintiff class of documented COVID-19 survivors file

 this lawsuit now upon information and belief that service members across the services have already

 been given a COVID-19 vaccine by the military without any of the proper political officials having

 complied with their legally mandated obligations under federal law, specifically 10 U.S.C. §1107



 1
  This document is an all-service publication and has an equivalent name for each of the applicable
 services. We have chosen to use the Army designation throughout for ease, but these arguments
 apply equally under AFI 48-110, BUMEDINST 6230.15B, COMDETINST M6230.4G. See, AR
 40-562, ¶2-6a.(1)(b).


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 and its implementing instructions.

        21.     Long established precepts of virology demonstrate that the immunity provided by

 recovery from actual infection is at least as pronounced and effective, if not many times more so,

 than any immunity conferred by a vaccine. This is no less true of COVID-19. See Exhibit 1 with

 attached CV, Expert Medical opinion of Dr. Peter A. McCullough, M.D., M.P.H. “Following the

 science” as it relates to COVID-19 validates and reaffirms the wisdom of maintaining long-

 established virology protocol, most recently codified in AR 40-562 in 2013.

        22.     Service members that have natural immunity, developed from surviving the virus,

 should be granted a medical exception from compulsory vaccination because the DoD Instruction

 policy reflects the well-established understanding that prior infection provides the immune

 system’s best possible response to the virus. “COVID-19 did not occur in anyone over the five

 months of the study among 2,579 individuals previously infected with COVID-19, including 1,359

 who did not take the vaccine.” See, e.g., Exhibit 2, Necessity of COVID-19 vaccination in

 previously infected individuals, Shrestha, Burke, et al., Cleveland Clinic.2

        23.     Plaintiffs and the Plaintiff class should be exempted from compulsory vaccination

 regardless of the legal status of the vaccines with the FDA because the requirements to vitiate a

 military service member’s right to informed consent have not been met and cannot be met by the

 Defendants.

        24.     Federal law only allows the forced vaccination of service members with an IND

 after the SECDEF has complied with all of the legal requirements of 10 U.S.C. §1107 or §1107a,


 2
   Plaintiffs have included a small sample of studies demonstrating the superiority of naturally
 acquired immunity over novel mRNA vaccines with no established safety history and unknown
 side-effects. See, e.g., Exhibits 3-8.


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 depending upon the status of the vaccine.

        25.     DoD Instruction 6202.02 (“DoDI”) states (in part) that:

            The Heads of DoD Components:
            …Shall, when requesting approval to use a medical product under an EUA or IND
    application, develop, in coordination with the Secretary of the Army, medical protocols,
    compliant with this Instruction, for use of the product and, if the request is approved, execute
    such protocols in strict compliance with their requirements…
            Shall, when using medical products under a force health protection program pursuant
    to an EUA, comply with Enclosure 3, Federal Food Drug and Cosmetic Act section 564
    (Reference (d)), section 1107a of Reference (e) and applicable FDA requirements.
            Shall, when using medical products under a force health protection program pursuant
    to an IND application, comply with Enclosure 4, section 1107 10 U.S.C., and applicable
    provisions of References (e) through (g). Requirements applicable to the use of medical
    products under an IND application do not apply to the use of medical products under an EUA
    within the scope of the EUA.

        26.     One of the (many) obligations that the SECDEF has with respect to use of either an

 IND/drug unapproved for its applied use (under §1107) or an EUA (under §1107a) is to provide

 detailed, written notice to the servicemember that includes information regarding (1) the drug’s

 status as an IND, unapproved for its applied use, or EUA; (2) “[t]he reasons why the investigational

 new drug or drug unapproved for its applied use is being administered[;]” and (3) “the possible

 side effects of the investigational new drug or drug unapproved for its applied use, including any

 known side effects possible as a result of the interaction of such drug with other drugs or treatments

 being administered to the members receiving such drug.”

        27.     Federal law requires that the SECDEF requests to the President for a written

 authorization to waive a servicemember’s right to informed consent include the certification that

 such vaccination is required as to a particular member’s participation in a specified military

 operation that contains the following additional criteria:

    (i) The extent and strength of evidence of the safety and effectiveness of the Investigational



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    New Drug in relation to the medical risk that could be encountered during the military

    operation, supports the drug’s administration under an IND; and

    (ii) The specified military operation presents a substantial risk that military personnel may be

    subject to a chemical, biological, nuclear, or other exposure likely to produce death or serious

    or life-threatening injury or illness; and

    (iii) That there is no available satisfactory alternative therapeutic or preventive treatment in

    relation to the intended use of the investigational new drug; and

    (iv) that conditioning the use of the investigational new drug upon voluntary participation of

    each member could significantly risk the safety and health of any individual member who

    would decline its use, the safety of other military personnel, and the accomplishment of the

    military mission[,] which remains undefined at this time (emphasis added).

        28.     The relevant Defendants have not complied with these requirements and upon

 information and belief have been engaged in an ongoing pattern of intentional vaccination of

 servicemembers in knowing violation of these obligations and servicemembers’ rights.

        29.     The applicable section of the Federal Food, Drug, and Cosmetic Act (Title 21,

 Chapter 9) regarding EUA of biologics for the military is found at 21 U.S.C. §360bbb-3. It contains

 a lengthy list of requirements for either the Secretary of the Department of Homeland Security, the

 Secretary of Defense, the Secretary of the FDA, including detailed findings regarding the exact

 military contingency that the Secretary of Defense has used to go to the President in order to

 override servicemembers’ right of informed consent before the administration of any EUA drug

 or device.

        30.     The Defendants have not complied and cannot comply with their respective



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  requirements to support the DoD’s actions in vitiating the informed consent rights of

  servicemembers regarding these unapproved biologics because:

           (a) these drugs are not being used in response to any specific military threat in a theater of

  operations, but rather are a naked attempt to leverage the Plaintiffs’ military status against them in

  order to move forward with an unnecessary public health mandate;

           (b) there is near zero risk to healthy, fit, young men and women of the U.S. Armed Services,

  and

           (c) there are numerous safe, long-standing, proven alternative treatments (such as

  ivermectin, “anti-infective oral and nasal sprays and washes, oral medications, and outpatient

  monoclonal antibodies, which are ‘approved’ drugs by the Food and Drug Administration and

  highly effective in preventing and treating COVID-19”)3 and the existence of such treatments is a

  legal bar to the use of an EUA or IND without informed consent.

                               FIRST CAUSE OF ACTION
                   (VIOLATION OF ADMINISTRATIVE PROCEDURE ACT)

           31.    Plaintiffs reallege the facts in Paragraphs 1 through 30 as if fully set forth in this

  Count.

           32.    The United States Government, acting through the DoD, violated its own

  regulations, DoDI 6200.02 and AR 40-562, by ignoring the Plaintiffs right to informed consent

  and vaccinating members of the armed forces without complying with applicable federal law and

  implementing regulations.

           33.    Defendants’ failure to follow federal law and regulations creates a legal wrong



  3
      See Exhibit 1, Expert Medical Opinion of Dr. Peter McCullough.


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  against Plaintiffs.

           34.    As a result of Defendants’ unlawful actions, Plaintiffs have suffered damages,

  including being required to take an unnecessary drug of unknown long-term safety profile; being

  subject to or threatened with disciplinary action under the Uniform Code of Military Justice

  (“UCMJ”), to include adverse administrative action; enduring differential treatment, including

  being segregated from eating with one’s fellow service members in the military dining facilities

  and subject to ridicule; being denied leave and/or freedom of movement, among others, as a result

  of Defendants’ illegal scheme and actions.

                                   SECOND CAUSE OF ACTION
                                 (VIOLATION OF 10 U.S.C. §1107)

           35.    Plaintiffs reallege the facts in Paragraphs 1 through 30 as if fully set forth in this

  Count.

           36.    This case involves an actual controversy surrounding the legality of any orders or

  actions the DoD has taken with regard to vaccinating service members against COVID-19 in the

  absence of the Secretaries and DoD’s moral and statutory obligations.

           37.    The United States Government, acting through the DoD, violated a federal statute,

  namely 10 U.S.C. §1107, as well as DoDI 6200.02, when it illegally required or stated it would

  require or mandate members of the class of Plaintiffs who have already had the virus to submit to

  COVID-19 vaccinations in an IND or “unapproved for their applied use” status.

           38.    As a result of Defendants’ unlawful actions, Plaintiffs have suffered damages,

  including being required to take an unnecessary drug of unknown long-term safety profile; being

  subject to or threatened with disciplinary action under UCMJ, to include adverse administrative

  action; enduring differential treatment, including being segregated from eating with one’s fellow


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  service members in the military dining facilities and subject to ridicule; being denied leave and/or

  freedom of movement, among others, as a result of the Defendants’ illegal scheme and actions.

                                   THIRD CAUSE OF ACTION
                                (VIOLATION OF 10 U.S.C. §1107a)

           39.    Plaintiffs reallege the facts in Paragraphs 1 through 30 as if fully set forth in this

  Count.

           40.   This case involves an actual controversy surrounding the legality of any orders or

  actions the DoD has taken with regard to vaccinating service members against COVID-19 in the

  absence of the Secretaries and DoD’s moral and statutory obligations.

           41.   The United States Government, acting through the DoD, HHS, and FDA, violated

  a federal statute, namely 10 U.S.C. §1107a, as well as 21 U.S.C. §355, DoDI 6200.02, when it

  illegally required or threatened to mandate members of the class of Plaintiffs who have already

  had the virus, to submit to COVID-19 vaccinations in an EUA status. Even though not currently

  lawfully mandated by SECDEF and other Defendants, many Plaintiffs, e.g., service members, have

  been ordered, or coerced by virtue of military structure and rank, to submit to taking the vaccine.

           42.   As a result of Defendants’ unlawful actions, the Plaintiffs have suffered damages,

  including being required to take an unnecessary drug of unknown long-term safety profile; being

  subject to or threatened with disciplinary action under the UCMJ, to include adverse administrative

  action; enduring differential treatment, including being segregated from eating with one’s fellow

  service members in the military dining facilities and subject to ridicule; being denied leave and/or

  freedom of movement, among others, as a result of the Defendants’ illegal scheme and actions.

                                 FOURTH CAUSE OF ACTION
                                (VIOLATION OF 50 U.S.C. §1520)



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           43.   Plaintiffs reallege the facts in Paragraphs 1 through 30 as if fully set forth in this

  Count.

           44.   This case involves an actual controversy surrounding the legality of any orders or

  actions the DoD has taken with regard to vaccinating service members against COVID-19 in the

  absence of the Secretaries and DoD’s moral and statutory obligations.

           45.   The United States Government, acting through the DoD, HHS, and FDA, violated

  a federal statute, namely 50 U.S.C. §1520, when it illegally required members of the class of

  Plaintiffs who have already had the virus to submit to COVID-19 vaccinations in any FDA status.

  The right of informed consent is one of the sacrosanct principles that came out of the Nazi Doctor

  Tribunals conducted at Nuremburg. The overriding legal principle was that no State, not even the

  United States, may force its citizens to undergo unwanted medical procedures merely by declaring

  an emergency.4

           46.   As a result of Defendants’ unlawful actions, the Plaintiffs have suffered damages,

  including being required to take an unnecessary drug of unknown long-term safety profile; being

  subject to or threatened with disciplinary action under the UCMJ, to include adverse administrative

  action; enduring differential treatment, including being segregated from eating with one’s fellow

  service members in the military dining facilities and subject to ridicule; being denied leave and/or

  freedom of movement, among others, as a result of the Defendants’ illegal scheme and actions.

           WHEREFORE, Plaintiffs respectfully ask this Court to:




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    If this were the correct legal principle, then the Nazi doctors were wrongly tried and convicted
  as Germany was in a declared state of emergency at the time of the Nazi medical experiments.


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         A.      Find that the use of investigational new drugs or drugs unapproved for their applied

                 use is illegal until and unless the Secretary of Defense complies with his statutory

                 requirements in requesting a waiver of informed consent and until the President

                 makes the requisite finding under 10 U.S.C. §1107; and

         B.      Find that all members of the Plaintiffs’ class are still entitled to a medical exemption

                 from vaccination even after the Defendants have complied with their legal

                 obligations under the implementing DoDI 6200.02;

         Alternatively, if applicable,

         C.      Find that the use of vaccines under an EUA is illegal until and unless all of the

                 Defendants comply with their statutory obligations in requesting a waiver of

                 informed consent under 10 U.S.C. §1107a and the implementing regulations and

                 laws;

         D.      Find that all members of the Plaintiffs’ class are still entitled to a medical exemption

                 from vaccination even after the Defendants have complied with their legal

                 obligations under DoDI 6200.02;

  Plaintiffs also ask this Honorable Court to:

         E.      Find and declare that any order issued by DoD requiring the Plaintiffs to receive

                 inoculation with COVID-19 vaccines are patently unlawful;

         F.      Enjoin the DoD from vaccinating any service members until this action has

                 completed and the status of any vaccine has been determined and the requirements

                 for taking away Plaintiffs’ rights of informed consent have been met; and

         G.      Award Plaintiffs their costs and attorneys’ fees and any other relief this Court may



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                find appropriate.


  Date: August 17, 2021

                                    Respectfully submitted,


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